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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                     LONDON

 UNITED STATES OF AMERICA,                  )
                                            )
        Plaintiff,                          )      Criminal No. 11-59-ART-(3)
                                            )
 v.                                         )
                                            )               ORDER
 SCOTT NEWMAN,                              )
                                            )
        Defendant.                          )
                                    *** *** *** ***

       This matter is before the Court on defendant Scott Newman’s two violations of the

terms of his supervised release. Newman stipulated to the charged violations. R. 198 at 3.

Pursuant to the Court’s referral order, R. 187, Magistrate Judge Hanly Ingram filed a Report

and Recommendation (“R&R”) that Newman be sentenced to eighteen months incarceration,

with no supervised release to follow. R. 198 at 8. Neither the United States nor the

defendant filed any objections to the R&R, and the time for filing any objections has expired.

See Fed. R. Crim. P. 59(b)(2). Newman waived his right to allocate. R. 199.

       Accordingly, it is ORDERED that:

       (1)    The R&R, R. 198, is ADOPTED as the opinion of the Court.

       (2)    Newman’s supervised release is REVOKED.
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    (3)    Newman is SENTENCED to eighteen months imprisonment, with no

           supervised release to follow.

    (4)    The Court will issue a separate judgment.

    This the 16th day of July, 2015.




                                           2
